         Case 6:18-bk-20418-WJ Doc 14 Filed 03/27/19                                Entered 03/27/19 21:51:51                Desc
                             Imaged Certificate of Notice                           Page 1 of 4
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 18-20418-WJ
Mark Albert Houser                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-6                  User: admin                        Page 1 of 2                          Date Rcvd: Mar 25, 2019
                                      Form ID: 318a                      Total Noticed: 27


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 27, 2019.
db             +Mark Albert Houser,   559 Kerilyn Ln.,    Hemet, CA 92544-3186
tr             +Todd A. Frealy (TR),   3403 Tenth Street, Suite 709,     Riverside, CA 92501-3641
39250649       +CMRE Financial Services,   3075 E Imperial Hwy Ste,     Brea, CA 92821-6753
39250650       +CMRE Financial Services,   Attn: Bankruptcy,    3075 E Imperial Hwy Ste 200,
                 Brea, CA 92821-6753
39250656       +Fortiva,   Po Box 105555,    Atlanta, GA 30348-5555
39250657       +Fortiva,   Attn: Bankruptcy,    Po Box 105555,    Atlanta, GA 30348-5555
39250663        LoanMe, Inc.,   Attn: Bankruptcy,    Po Box 5648,    Orange, CA 92863

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: FTAFREALY Mar 26 2019 07:28:00       Todd A. Frealy (TR),    3403 Tenth Street, Suite 709,
                 Riverside, CA 92501-3641
smg             EDI: EDD.COM Mar 26 2019 07:28:00      Employment Development Dept.,      Bankruptcy Group MIC 92E,
                 P.O. Box 826880,    Sacramento, CA 94280-0001
smg             EDI: CALTAX.COM Mar 26 2019 07:28:00       Franchise Tax Board,    Bankruptcy Section MS: A-340,
                 P.O. Box 2952,    Sacramento, CA 95812-2952
39250646       +EDI: GMACFS.COM Mar 26 2019 07:28:00       Ally Financial,    Attn: Bankruptcy Dept,
                 Po Box 380901,    Bloomington, MN 55438-0901
39250645       +EDI: GMACFS.COM Mar 26 2019 07:28:00       Ally Financial,    P.o. Box 380901,
                 Bloomington, MN 55438-0901
39250647        EDI: CAPITALONE.COM Mar 26 2019 07:28:00       Capital One,    15000 Capital One Dr,
                 Richmond, VA 23238
39250648       +EDI: CAPITALONE.COM Mar 26 2019 07:28:00       Capital One,    Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
39250652       +EDI: RCSFNBMARIN.COM Mar 26 2019 07:28:00       Credit One Bank,    Attn: Bankruptcy,
                 Po Box 98873,    Las Vegas, NV 89193-8873
39250651       +EDI: RCSFNBMARIN.COM Mar 26 2019 07:28:00       Credit One Bank,    Po Box 98872,
                 Las Vegas, NV 89193-8872
39250653       +E-mail/Text: vlazo@dyckoneal.com Mar 26 2019 03:33:48        Dyck Oneal Inc,
                 6060 N Central Expy Ste,    Dallas, TX 75206-5355
39250659        E-mail/Text: bankruptcynotification@ftr.com Mar 26 2019 03:33:59        Frontier Communication,
                 P.O. Box 20550,    Rochester, NY 14602-0550
39250654       +EDI: AMINFOFP.COM Mar 26 2019 07:28:00       First Premier Bank,    3820 N Louise Ave,
                 Sioux Falls, SD 57107-0145
39250655       +EDI: AMINFOFP.COM Mar 26 2019 07:28:00       First Premier Bank,    Attn: Bankruptcy,
                 Po Box 5524,    Sioux Falls, SD 57117-5524
39250658        E-mail/Text: bankruptcynotification@ftr.com Mar 26 2019 03:33:59        Frontier,
                 P.O. Box 740407,    Cincinnati, OH 45274-0407
39250660       +EDI: IIC9.COM Mar 26 2019 07:28:00      I C System Inc,     Po Box 64378,
                 Saint Paul, MN 55164-0378
39250661       +EDI: IIC9.COM Mar 26 2019 07:28:00      I C System Inc,     Attn: Bankruptcy,    Po Box 64378,
                 St Paul, MN 55164-0378
39250662       +E-mail/Text: bankruptcy@loanme.com Mar 26 2019 03:33:50        LoanMe, Inc.,
                 1900 S State College Blv,    Anaheim, CA 92806-0101
39250665       +EDI: MERRICKBANK.COM Mar 26 2019 07:28:00       Merrick Bank/CardWorks,     Attn: Bankruptcy,
                 Po Box 9201,    Old Bethpage, NY 11804-9001
39250664       +EDI: MERRICKBANK.COM Mar 26 2019 07:28:00       Merrick Bank/CardWorks,     Po Box 9201,
                 Old Bethpage, NY 11804-9001
39250667       +EDI: RMSC.COM Mar 26 2019 07:28:00      Synchrony Bank/Walmart,     Attn: Bankruptcy Dept,
                 Po Box 965060,    Orlando, FL 32896-5060
39250666       +EDI: RMSC.COM Mar 26 2019 07:28:00      Synchrony Bank/Walmart,     Po Box 965024,
                 Orlando, FL 32896-5024
                                                                                                TOTAL: 21

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 27, 2019                                             Signature: /s/Joseph Speetjens
       Case 6:18-bk-20418-WJ Doc 14 Filed 03/27/19                 Entered 03/27/19 21:51:51        Desc
                           Imaged Certificate of Notice            Page 2 of 4


District/off: 0973-6          User: admin                 Page 2 of 2                  Date Rcvd: Mar 25, 2019
                              Form ID: 318a               Total Noticed: 27

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                              CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 25, 2019 at the address(es) listed below:
              Nicholas M Wajda    on behalf of Debtor Mark Albert Houser info@wajdalawgroup.com,
               r47098@notify.bestcase.com
              Todd A. Frealy (TR)    taftrustee@lnbyb.com, taf@trustesolutions.net
              United States Trustee (RS)    ustpregion16.rs.ecf@usdoj.gov
                                                                                             TOTAL: 3
     Case 6:18-bk-20418-WJ Doc 14 Filed 03/27/19                                          Entered 03/27/19 21:51:51              Desc
                         Imaged Certificate of Notice                                     Page 3 of 4
Information to identify the case:
Debtor 1              Mark Albert Houser                                                   Social Security number or ITIN   xxx−xx−5018
                      First Name   Middle Name   Last Name                                 EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                   Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                           EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Central District of California

Case number: 6:18−bk−20418−WJ



Order of Discharge − Chapter 7                                                                                                      12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Mark Albert Houser
            [include all names used by each debtor, including trade names, within
           the 8 years prior to the filing of the petition]

           Debtor 1 Discharge Date: 3/25/19



           Dated: 3/25/19
                                                                                    By the court: Wayne E. Johnson
                                                                                                  United States Bankruptcy Judge




Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                                      This order does not prevent debtors from paying
and it does not determine how much money, if                                        any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                                debts according to the reaffirmation agreement.
                                                                                    11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                           Most debts are discharged
attempt to collect a discharged debt from the                                       Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                          all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                                     personal liability for debts owed before the
or otherwise try to collect from the debtors                                        debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                                    Also, if this case began under a different chapter
in any attempt to collect the debt personally.                                      of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                                    to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                                         are discharged.

However, a creditor with a lien may enforce a                                       In a case involving community property: Special
claim against the debtors' property subject to that                                 rules protect certain community property owned
lien unless the lien was avoided or eliminated.                                     by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                                       not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.
                                                                                                                                 12/AUT
                                                                                                   For more information, see page 2 >
Official Form 318−CACBdodb/CACodsc                            Order of Chapter 7 Discharge                              page 1
   Case 6:18-bk-20418-WJ Doc 14 Filed 03/27/19                      Entered 03/27/19 21:51:51          Desc
                       Imaged Certificate of Notice                 Page 4 of 4




Some debts are not discharged                                Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:               agreement are not discharged.

     ♦ debts that are domestic support                       In addition, this discharge does not stop
       obligations;                                          creditors from collecting from anyone else who is
                                                             also liable on the debt, such as an insurance
                                                             company or a person who cosigned or
     ♦ debts for most student loans;                         guaranteed a loan.


     ♦ debts for most taxes;
                                                              This information is only a general summary
     ♦ debts that the bankruptcy court has                    of the bankruptcy discharge; some
       decided or will decide are not discharged              exceptions exist. Because the law is
       in this bankruptcy case;                               complicated, you should consult an
                                                              attorney to determine the exact effect of the
                                                              discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318−CACBdodb/CACodsc            Order of Chapter 7 Discharge                    page 2
